   Case 2:10-md-02179-CJB-DPC Document 4767-2 Filed 11/30/11 Page 1 of 7




                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG            §                   MDL No. 2179
“DEEPWATER HORIZON” in the                 §
GULF OF MEXICO,                            §                    SECTION: J
on APRIL 20, 2010                          §
                                           §                 JUDGE BARBIER
            Applies to:                    §
                                           §             MAG. JUDGE SHUSHAN
                            All cases      §
and No. 10-2771, No. 10-4536, No. 11-      §
1054, and No. 11-1986
________________________________

        STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF
                HALLIBURTON ENERGY SERVICES, INC.'S
                  MOTION FOR SUMMARY JUDGMENT
                    REGARDING INDEMNITY ISSUES

       NOW INTO COURT, comes Halliburton Energy Services, Inc. ("HESI") and

respectfully files this Statement of Undisputed Material Facts in Support of Its Motion for

Summary Judgment Regarding Indemnity Issues, pursuant to Fed. R. Civ. P. 56 and Local Rule

56.1 (February 2011), and respectfully shows the Court as follows:

       1.      On April 15, 2009, BP Exploration & Production, Inc. ("BPXP") contracted with

HESI to perform cementing operations and provide certain other related support services in the

Gulf of Mexico in the Contract for Gulf of Mexico Strategic Performance Unit Offshore Well

Services, BPM-09-00255 (the "Contract").

       2.      A true and correct copy of the Contract is attached as Exhibit A to HESI's

Memorandum in Support of Its Motion for Summary Judgment Regarding Indemnity Issues.

       3.      At the time of the Deepwater Horizon Incident, HESI was providing services to

BPXP pursuant to the Contract at the Macondo well.

       4.      Pursuant to the Contract, and subject only to certain inapplicable exceptions,

BPXP agreed to indemnify HESI for any losses or claims arising out of a blowout, any personal

HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                  PAGE 1
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
   Case 2:10-md-02179-CJB-DPC Document 4767-2 Filed 11/30/11 Page 2 of 7




injury/wrongful death claims by BP employees, any claims arising out of damage to BP's

equipment, any claims or losses arising from pollution or contamination from the reservoir, and

any third party claims arising out of BP's negligence or breach of duty.

       5.      Pursuant to the Contract, and in the event of claims arising from a blowout or

uncontrolled well event or claims arising from pollution or contamination from the reservoir,

HESI agreed to indemnify BPXP for any personal injury/wrongful death claims by HESI

employees, any claims arising out of damage to HESI's equipment, and any claims or losses

arising from pollution occurring on HESI's premises or originating from HESI's property or

equipment located above the surface of the land or water arising from or relating to the

performance of the Contract.

       6.      Pursuant to § 19.6 of the Contract, BP agreed to the following:

               Subject to Clauses 19.1 and 19.4(b), but notwithstanding anything
               contained elsewhere in the CONTRACT to the contrary,
               COMPANY [BP] shall save, indemnify, release, defend and hold
               harmless CONTRACTOR GROUP [HESI and its subcontractors]
               against all claims, losses, damages, costs (including legal costs)
               expenses and liabilities resulting from:

                                               ….

               (b) blowout, fire, explosion, cratering, or any uncontrolled well
               condition (including the costs to control a wild well and the
               removal of debris);

               (c) damage to any reservoir, aquifer, geological formation or
               underground strata or the loss of oil or gas therefrom . . . .

       7.      Pursuant to § 19.4(a) of the Contract, BP agreed to the following:

               Notwithstanding the provisions of Clause 19.3(a) and except as
               provided by Clause 19.1(a), Clause 19.1(b), and Clause 19.4(b),
               COMPANY [BP] shall save, indemnify, release, defend and hold
               harmless CONTRACTOR GROUP [HESI and its subcontractors]
               from and against any claim of whatsoever nature arising from
               pollution and/or contamination including without limitation such
               pollution or contamination from the reservoir or from the property

HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                      PAGE 2
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
   Case 2:10-md-02179-CJB-DPC Document 4767-2 Filed 11/30/11 Page 3 of 7




              or equipment of COMPANY GROUP [BP and its affiliates]
              arising from or related to the performance of the CONTRACT.

       8.     The Contract contains the following "FAIR NOTICE DISCLOSURE

STATEMENT" at the very beginning of the Contract:

              BOTH PARTIES TO THIS CONTRACT ACKNOWLEDGE
              THAT THIS STATEMENT COMPLIES WITH ANY
              REQUIREMENT TO EXPRESSLY STATE LIABILITY FOR
              NEGLIGENCE   OF    THE    INDEMNITEE (EXPRESS
              NEGLIGENCE RULE), IS CONSPICUOUS AND AFFORDS
              FAIR AND ADEQUATE NOTICE.

       9.     Section 19.10 of the Contract provides: "CONTRACTOR [HESI] and

COMPANY [BP] expressly acknowledge that the indemnities and releases of liability contained

in this CONTRACT require assumption of liability for the negligence of the other party."

       10.    Section 19.7 of the Contract provides:

              All exclusions, releases of liabilities and indemnities given under
              this Clause (save for those under Clauses 19.3(a) [HESI
              employees] and 19.3(b) [HESI equipment]) and Clause 21
              [consequential losses] shall apply irrespective of cause and
              notwithstanding the negligence or breach of duty (whether
              statutory or otherwise) of the indemnified PARTY or any other
              entity or party and shall apply whether or not the claim, liability,
              damage, or expense in question is:

              (a) predicated on sole, joint or concurrent fault, negligence
              (whether active, passive or gross), strict liability, statutory duty,
              contractual indemnity or otherwise at law, or

              (b)   sought directly or indirectly by way of recovery,
              indemnification, or contribution by any person or entity against
              COMPANY GROUP, SERVICE COMPANY GROUP, or
              CONTRACTOR GROUP as the case may be.

       11.    On May 5, 2010, HESI made a demand on BPXP for indemnity and defense

under the Contract (the "Indemnity Demand").




HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                        PAGE 3
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
   Case 2:10-md-02179-CJB-DPC Document 4767-2 Filed 11/30/11 Page 4 of 7




          12.   A true and correct copy of the Indemnity Demand is attached as Exhibit C to

HESI's Memorandum in Support of Its Motion for Summary Judgment Regarding Indemnity

Issues.

          13.   On June 25, 2010, BPXP responded to the Indemnity Demand declining

indemnity and defense by claiming that it was premature for BPXP to take a definitive position

(the "Indemnity Response").

          14.   A true and correct copy of the Indemnity Response is attached as Exhibit D to

HESI's Memorandum in Support of Its Motion for Summary Judgment Regarding Indemnity

Issues.

          15.   On August 4, 2010, HESI replied to the Indemnity Response renewing its request

that BPXP provide indemnity and defense for claims arising from the Deepwater Horizon

Incident (the "Indemnity Reply").

          16.   A true and correct copy of the Indemnity Reply is attached as Exhibit E to HESI's

Memorandum in Support of Its Motion for Summary Judgment Regarding Indemnity Issues.

          17.   BPXP has consistently refused to honor its indemnity and defense obligations

under the Contract, and has sought to nullify those obligations.

          18.   Four HESI employees filed claims relating to the Deepwater Horizon Incident.

          19.   HESI originally agreed to indemnify BPXP for HESI employee claims, subject to

future developing facts.

          20.   HESI resolved two of the four employee claims.

          21.   In response to indemnity requests from BPXP relating to the two remaining HESI

employee claims, HESI informed BPXP that BPXP's failure to honor its indemnity obligations




HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                     PAGE 4
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
   Case 2:10-md-02179-CJB-DPC Document 4767-2 Filed 11/30/11 Page 5 of 7




constituted a prior breach of the Contract's indemnity provisions, relieving HESI of its indemnity

obligations (the "HESI Indemnity Denials").

       22.     True and correct copies of the HESI Indemnity Denials are attached as Exhibits F

and G to HESI's Memorandum in Support of Its Motion for Summary Judgment Regarding

Indemnity Issues.

       23.     HESI has made no claim relating to losses of its equipment in the Deepwater

Horizon Incident.

       24.     The oil released in association with the Deepwater Horizon Incident was released

below the surface of the water from the reservoir into which the Macondo well was being drilled.

       25.     No pollution relating to the Deepwater Horizon Incident occurred on HESI's

premises.

       26.     No pollution relating to the Deepwater Horizon Incident originated from HESI

equipment located above the surface of the land or water.

Dated: November 30, 2011




HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                      PAGE 5
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
   Case 2:10-md-02179-CJB-DPC Document 4767-2 Filed 11/30/11 Page 6 of 7




                                           Respectfully Submitted,

                                           GODWIN RONQUILLO PC

                                           By: /s/ Donald E. Godwin
                                           Donald E. Godwin
                                           Attorney-in-charge
                                           State Bar No. 08056500
                                           DGodwin@GodwinRonquillo.com
                                           Bruce W. Bowman, Jr.
                                           State Bar No. 02752000
                                           BBowman@GodwinRonquillo.com
                                           Jenny L. Martinez
                                           State Bar No. 24013109
                                           JMartinez@GodwinRonquillo.com
                                           Floyd R. Hartley, Jr.
                                           State Bar No. 00798242
                                           FHartley@GodwinRonquillo.com
                                           Gavin E. Hill
                                           State Bar No. 00796756
                                           GHill@GodwinRonquillo.com
                                           Renaissance Tower
                                           1201 Elm, Suite 1700
                                           Dallas, Texas 75270-2041
                                           Telephone: (214) 939-4400
                                           Facsimile: (214) 760-7332
                                           and
                                           R. Alan York
                                           State Bar No. 22167500
                                           AYork@GodwinRonquillo.com
                                           Jerry C. von Sternberg
                                           State Bar No. 20618150
                                           JVonSternberg@GodwinRonquillo.com
                                           Misty Hataway-Coné
                                           State Bar No. 24032277
                                           MCone@GodwinRonquillo.com
                                           1331 Lamar, Suite 1665
                                           Houston, Texas 77010
                                           Telephone: 713.595.8300
                                           Facsimile: 713.425.7594

                                           ATTORNEYS FOR DEFENDANT
                                           HALLIBURTON ENERGY SERVICES, INC.




HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                             PAGE 6
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
   Case 2:10-md-02179-CJB-DPC Document 4767-2 Filed 11/30/11 Page 7 of 7




                                CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing Halliburton Energy Services, Inc.'s

Statement of Undisputed Material Facts in Support of Its Motion for Summary Judgment

Regarding Indemnity Issues has been served on All Counsel by electronically uploading the

same to Lexis Nexis File & Serve in accordance with Pretrial Order No. 12, and that the

foregoing was electronically filed with the Clerk of the Court of the United States District Court

for the Eastern District of Louisiana by using the CM/ECF System, which will send a notice of

electronic filing in accordance with the procedure established in MDL 2179, on this 30th day of

November, 2011.



                                             /s/ Donald E. Godwin
                                             Donald E. Godwin




HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                      PAGE 7
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
